              IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
                      DISTRICT OF TENNESSEE AT NASHVILLE

                                                )
JONATHAN TRIMBOLI,                              )
                                                )
         Plaintiff,                             )
                                                )          No. 3:18-cv-00346
OLD REPUBLIC INS. CO.,                          )          Judge Aleta A. Trauger
                                                )          JURY DEMAND
         Intervening Plaintiff,                 )
v.                                              )
                                                )
MAXIM CRANE WORKS, L.P.,                        )
                                                )
         Defendant, Third-Party Plaintiff,      )
                                                )
v.                                              )
                                                )
APTUS GROUP USA, LLC,                           )
                                                )
         Third-Party Defendant.                 )


   DEFENDANT AND THIRD PARTY PLAINTIFF MAXIM CRANE WORKS, L.P.'S
                   CORPORATE DISCLOSURE STATEMENT
______________________________________________________________________________

         Pursuant to Fed. R. Civ. P. 7.1, Defendant and Third-Party Plaintiff Maxim Crane Works,

L.P. ("Maxim") hereby informs the Court and all parties to this action that Maxim has no parent

corporation and that no publicly held corporation owns 10% or more of its stock.

                                                    Respectfully submitted,

                                                    HALL BOOTH SMITH, P.C.

                                             By:    /s/ Nathan H. Mauer
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                                     CERTIFICATE OF SERVICE

        I hereby certify that the following individuals have been served a copy of the foregoing
via the Court’s electronic filing system on this the 27th day of July, 2018:


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